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                           IN TI{E LINITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                      COLIIMBIA DMISION


                                                           CR. NO.:     3:20-727


                                                          18 U.S.C. $ 371
                                                          r8 u,s.c. $ 1341
                                                          18 U.S.C. $ 1343
                                                          18 U.S.C. $ 981
                                                          18 U.S.C. $ 982
                                                          28 U.S.C. 5 2461

                                                          INFORMATION



        TIIE I.INITED STATES ATTORNEY CFIARGES:

        At all times relevant to this lnfomration:

        l.      The defendant KEVIN           MARSII along with   others known and unknown to the

United States Attomey, consisting        of former SCANA       Corporation ("SCANA") executives,

employees, and the lawyers who advised them, led a failed effort to construct two nuclear power

generators in Fairfield County, South Carolina. As construction problems mounted, costs rose,

and schedules slipped, the defendant,   KEVIN MARSH, and others, hid the true      state   ofthe project.

Through intentional and material misrepresentations and omissions, the defendant, KEVIN

MARSH, deceived regulators and customers in order to maintain financing for the project and to

financially benefit SCANA. The members of the conspiracy's actions and the associated cover-

up resulted in billions of dollars of loss.
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                                                Background

           Z.    SCANA was a publicly-traded holding company engaged, through subsidiaries, in

electric and natural gas utility operations and other energy-related businesses. SCANA was

incorporated in South Carolina and maintained its principal executive offices at 220 Operation

Way, Cayce, South Carolina 29033-3701.

           3.    SCANA's principal subsidiary, South Carolina Electric and Gas Company

(,,SCE&G"), was a regulated public utility engaged in the generation, transmission, distribution

and sale of electricity, primarily      in South Carolina, SCE&G, a monopoly, had approximately

700,000 electricity customers and 350,000 natural gas customers in South Carolina @ereinafter,

SCANA and SCE&G will be referred to collectively            as   "SCANA").

           4.    The Public Service Commission         ('?SC') was a board comprised of    seven elected


persons charged by the State of South Carolina with regulating utility rates. The PSC performs

the adjudicative function of utility regulation.

           5.    The Offrce of Regulatory Staff("ORS") was created by Act 175         n 2004. The ORS

was responsible for the inspection, auditing, and examination of public        utilities, The ORS had   a


dual fi,rnction: (1)   it   represented South Carolina's public interest in utility regulation before the

PSC, the court system, the South Carolina General Assembly, and federal regulatory bodies; and

(2)   it   advanced the     utilities' interests. In fulfilling these dual roles, ORS performed       the


investigative, legal, prosecutorial, and educational roles of utility regulation, while at the same

time acting as an advocate for the utilities.

           6.    As a regulated monopoly, SCANA was required to truthfully and fully cooperate

with the ORS and the PSC.




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       7.       Beginning in November 2011, the defendant, KEVIN MARSH, was SCANA's

Chief Executive Officer ("CEO") and Chairman of the Board of Directors.

       8.       Westinghouse Electric Company ("Westinghouse") was         a   Pennsylvania-based


company that was traditionally an engineering firm. Westinghouse designed the AP-1000, a next-

generation, modular-based nuclear power plant.

       g.       Toshiba Corp. ("Toshiba") was a Japanese multinational conglomerate company

and majority   owler of Westinghouse.

       10.      The Consortium was the group of companies operating under an Engineering,

procurement, and Construction ("EPC") contract signed by the owners. It included Westinghouse

and its construction partner Stone   & Webster, ownership of which passed from the Shaw Group
                                                                                                    1
                                                                                                    I

(,,Shaw,') to Chicago Bridge and Iron ("CB&I"), before Westinghouse itself acquired Stone &         I

                                                                                                    I



Webster in late 2015. Stone & Webster was thereafter known as WECTEC,

       11.      Fluor Corporation ('Fluol') was an engineering, procurement, construction, and

project management company headquartered in lrving, Texas.

       lZ.      The South Carolina Public Service Authority ("Santee Cooper") was a state-owned

utility that provided power and water to citizens of the South Carolina Lowcountry and to

approximately twenty cooperative power companies.

       13. The Bechtel Corporation            ("Bechtel") was an engineering, procurement,

construction, and project management company headquartered in Reston, Virginia.

                                        The Nuclear Project


        14.     In May 2008, SCANA and Santee Cooper agreed to construct two AP-1000 nuclear

reactors ("the Nuclear Project") at the V.C. Summer site in Jenkinsville, South Carolina.




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           15.   Under the agreement, SCANA hcld the majority ownership interest of 55%, while

Santee Cooper held     the remaining    45%o ownership     interest. SCANA and Santee Cooper's

arrangement allowed SCANA to effectively control the daily oversight of the Nuclear Project.

           16.   SCANA did not have the capital to directly finance the cost of the Nuclear Project,

initially estimated at $9.8 billion. Instead, SCANA depended on financial incentives provided

under the Energy Policy Act of 2005 ("Energy Policy Act"), 42 U.S.C. $ 15801, et seq., and the

Base Load Review     Act ("BLRA"), S.C. Code Ann. $$ 58-33-210, et seq., to finance the Nuclear

Project.

           17.   The Energy Policy Act provided SCANA with tax incentives for constructing the

two new nuclear facilities. Under the statutory requirements existing at the time,           if   SCANA

completedtheNuclearProjectbyJanuaryl,2OZl,SCANAwouldqualifrfortaxcreditsvalued

at approximately $2.2 billion that could be passed along to customers in the form of lower rates.

           18.   Passed   by the South Carolina General Assembly :.r;r2007, the BLRA permitted

utility companies to petition the PSC to raise utility rates to cover the construction financing costs

during the project rather than wait for project completion to incorporate these costs i-nto the utility's

rate base. However, to cover the construction financing costs under the BLRA, SCANA was

required to demonstrate that its actions were "prudent." S.C. Code Arm. $S 58-33-210 et seq.

SCANA was required to present the anticipated construction schedule and capital costs to           justifi

the proposed rate hcreases.

           lg.   In May 2008, SCANA and          Santee Cooper signed the EPC contract            with the

Consortium of Westinghouse and its construction partner Stone & Webster, which was owned at

the time by Shaw.1




1
    On July 30,2012, CB&I purchased Shaw.
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        20.      On May 30, 2008, SCANA submitted its first application to the PSC under the

BLRA requesting rate increases to cover the construction financing costs of the Nuclear Project.

In February 2009, the PSC approved SCANA's petition. In July 2009, SCANA submitted                      a

revised construction schedule to the PSC, which the PSC approved in January 2010. During the

course of the approval process, SCANA executives vowed to be transparent in the updates they

provided to the PSC.

        21. ln March 2072, the United States Nuclear Regulatory Commission ("NRC")
approved SCANA and Santee Cooper's request to commence nuclear-related construction atthe

Nuclear Proj ect. Construction began in March 20     I3   . SCANA initially   projected that Unit 2 would

be generating   powff by April 2016, and that Unit   3 would be generating power       by January 2019.

        22.     From its inception, the Nuclear Project was plagued by schedule delays and cost

increases. By September 2013, emails among SCANA, Santee Cooper and the Consortium stated

that Westinghouse's "missed deadlines put potentially unrecoverable stress on the milestone

schedule" approved by the PSC. Within six months, by May 2014, SCANA and Santee Cooper

executives sent a letter to Westinghouse and    CB&I executives outlining their complaints           and

criticizing,the Consortium for poor performance and recuning design and schedule delays.

According to SCANA and Santee Cooper executives, the Consortium had "made promise after

promise, but fulfilled few of them."

       23.      In October 2015, SCANA and Santee Cooper signed an amendment to the EPC

contract with Westinghouse. Also at this time, Westinghouse signed an agreement to acquire

CB&I's nuclear subsidiary Stone & Webster and agreed to bring in Fluor           as the subcontractor on


the Nuclear Project.




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                24.    At various times, SCANA received new projected completion dates for the Nuclear

        Project from Westinghouse and presented the dates to the PSC for approval as required by the

    '   BLRA. The following schedule identifies   each request and the dates approved for each reactor:

        Docket 2009-293-E      [Jnit2        April   2016
                                                     1,            Unit   3       January 1,2019
        Docket 2012-203-E      Un1t2         March  15,2017        Unit   3       May 15, 2018
        Docket 2015-103-E      Unltz         June 19, 2019         Unit   3       June 16, 2020
        Docket 2016-223-E      Unit?         August 37,2079        Unit   3       August 3I,2020

                25.    The construotion complete percentages provided to SCANA showed that the

        Nuclear Project was woefully behind schedule, averaging less than 0.6 percent complete per month

'       for over four years.




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                               The Scheme to Defraud Customers

       26.     From a time no later than late 2016, and continuing until January 1, 2018, the

defendant, KEVIN MARSH, and others, through SCANA, engaged in a scheme, Pl&n, and artifice

to defraud customers, and to obtain money and property by            means   of materially false   and


fraudulent pretenses, representations, and promises, by making false and misleading statements,

and omitting facts necessary to make the statements truthful and not misleading.

       27.     The defendant, KEVIN MARSH, and members of the conspiracy, though not all

conspirators acted at every stage nor parlicipated in the   full range of activities of the conspiracy,

did ttrrough SCANA, make materially false and misleading statements and did omit material

information in an effort to continue the Nuclear Project minimize regulatory risk, and avoid

legislative oversight through statements      to the PSC, the ORS, the South Carolina             State


Govemment, the media, and to SCANA's customers. To further the scheme, various members               of

the conspiracy at various times and places:

       (A)     Represented to regulatory agencies that V.C. Summer       Unit2 would be operational

               16.2019 and would   qualifr for the PTCs; when in truth members of the conspiracy

               knew that the schedule was unrealistic and that Unit 2 would not be completed in

               2019.

       (B)     Represented to regulatory agencies that V.C. Summer Unit 3 would be operational

               h2020 and would qualify for the PTCs; when in truth members of the conspiracy

               knew that the schedule was unrealistic and that Unit 3 would not be completed in

               2020.

       (C)     Represented   to regulatory agencies that V.C. Summer Units 2 and 3 would             be


               operational in2019 and2020, when in truth members of the conspiracy had hired
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         Bechtel   to   evaluate the project; Bechtel found the Nuclear Project              to   be

         significantly off-schedule and over-budget. Members of the conspiracy never

         provided this information to the regulatory agencies.

   (D)   Represented to regulatory agencies costs of the project that were significantly and

         materially lower than what was expected.

   (E)   Applied for and received rate increases based upon misrepresentations and

         misleading statements that lead to fraudulently inflated bills to customers for the

         stated purpose of fi,nancing the project.


   (F)   Sent inllated bills to customers, both electronically and in the mail.

   (G)   Received payments from customers of         ffiated   rates, both electronically and in the

         mail.

   (H)   Provided customers misleading information regarding the progress                   of    the

         construction of V.C. Summer Units 2 and 3.

   (I)   Paid over $500 million of the $2.2 billion dollars customers paid to finance the

         construction project directly to shareholders in dividends.

   (J)   Provided misleading information       to the South Carolina           General Assembly

         regarding the progress of the Nuclcar Project.

   (K)   Commissioned Bechtel to conduct a comprehensive review of tho status of the

         Nuclear Project in2075, and when Bechtel provided data demonstrating that the

         Nuclear Project was failing bifurcated, edited, and buried the Bechtel report(s) and

         the information contained within under disingenuous representations of attorney-

         client privilege. The Bechtel conclusions were not made public until after

         abandonment of the Nuclear Project.
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                                           COL]NT ONE

        28.    From atime beginningno laterthan late2076, and continuing until January 1,2078,

in the District of South Carolina and elsewhere, the defendant, KEVIN MARSH, and others,

through SCANA, knorvingly and intentionally combined, conspired, confederated, agreed, and had

a tacit understanding to   :



       a.   knowingly devise a scheme and artifice to defraud and to obtain money and property

            by means of false and fraudulent pretenses, representations, and promises, and in

            furtherance of this scheme, did use and cause to be used the United States mail and

            common carriers, in violation of Title 18, United States Code, Section 1341; and

       b.   knowingly devised a scheme and artifice to defraud and to obtain money and property

            by means of false and fraudulent pretenses,.representations, and promises, transmitted

            or caused to be transmitted by means of wire, radio, or television communication in

            interstate commerce, any writings, signs, signals, pictures or sounds for the purpose   of

            executing the scheme and artifice, in violation of Title 18, United States Code, Section

            1343.

                                   The Object of the Con=spiracv

       29.     The object of the conspiracy was for the defendant, KEVLN MARSH, and others,

through SCANA, to provide false representations and omit necessary facts in disclosures to the

PSC, the ORS, the South Carolina State Government, the media, and to SCANA's customers, so

that the construction of the Nuclear Project would continue, minimizing regulatory risk, and

avoiding legislative oversight, all to defraud customers tfuough inflated bills.




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                                            OVERT ACT

        30.      In furtherance of the conspiracy, the defendant, KEVIN MARSH, committed the

following overt act in the District of South Carolina, in that on or about December 27, 2016,

Toshiba issued a press release announcing a potential multi-billion dollar write-down related to

Westinghouse's nuclear construction business. The same day, the defendant, KEVIN MARSH,

and others received a confidential telephone briefing from senior Westinghouse officials, during

which those officials indicated the costs to complete the new units would be significantly higher

than expected.

       Also on or about December 27,2016, the defendant, KEVIN MARSH, received a separate

briefing from a senior Toshiba official indicating that Toshiba could not absorb the frnancial hit

suggested by new estimates     from Westinghouse's subcontractor for the work remaining on the

project.   These briefings led the defendant,     KEVIN MARSH, to believe that there existed    a

heightened risk of furthei construction delays.

       When, on December 29,2016, the ORS requested detailed information from SCANA

regarding the construction schedule for both units, the defendant, KEVIN MARSH, along with his

coconspirators, withheld the information provided        by the officials from Westinghouse   and

Toshiba.

       All   in violation of Title 18, United States Code, Section 371.




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                                               FORFEITURE

SPECIFIED LINLAWFUL ACTIVITIES                 :




        Upon conviction of violating Title 18, United States Code, Section 371, as charged in the

Information, the defendant, KEVIN MARSH, shall forfeit to the United States, pursuant to Title

18, United States Code, Sections 981(a)(1)(C),982(a)Q) and 982(a)(1) and Title 28, United States


Code, Section2467(c), any property, real or personal, which is involved in such violation or which

constitutes or is derived from proceeds traceable to such property.

        The property subject to forfeiture includes, but is not limited to, the following:

        (1)     Proceeds/MonevJudgment:

                (a) A sum of money equal to five million dollars the defendant, KEVIN MARSH,

                     obtained, directly or indirectly, from the offenses charged in Count           I of the
                     lnformation.

        Ifany ofthe property described above as being subject to forfeiture,         as a result   ofany act

or omission ofthe defendant, KEVIN MARSH -

                A.      Cannot be located upon the exercise of due diligence;

                B.      Has been transferred or sold to, or deposited with, a third person;

                C.      Has been placed beyond the jurisdiction of the court;

                D.      Has been substantially diminished in value; or

                E.      Has been commingled with other property which cannot be

                        subdivided without diffi culty;

it is the intention of the United   .States, pursuant   to Title 18, United States Code, Section 982(bX1),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other property

of the defendant, KEVIN MARSH, up to thc value of the forfeitable property;



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       Pursuant to Title 18, United States Code, Sections 981(aX1XC), 982(a)(1) and (a)(2), and

Title 28, United States Code, Section 246I(c).




PETER M.   M                    ,   BBA, EEL, WDHJT)




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